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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )         Case No.: 3:19-cr-364-ECM-WC
                                           )
NAYEF AMJAD QASHOU                         )

                                         ORDER

      For good cause, it is

      ORDERED that, a final pretrial conference is hereby set for September 16, 2020 at

9:30 a.m., in Courtroom 5A, Frank M. Johnson, Jr. Federal Building and United States

Courthouse Complex, One Church Street, Montgomery, Alabama, before the undersigned

Magistrate Judge.

      DONE this 1st day of July, 2020.



                               /s/ Wallace Capel, Jr.
                               WALLACE CAPEL, JR.
                               CHIEF UNITED STATES MAGISTRATE JUDGE
